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            8
                                         UNITED STATES DISTRICT COURT
            9
                                       EASTERN DISTRICT OF CALIFORNIA
           10

           11
                UNITED STATES OF AMERICA, ) Case No. 03-cr-05204 OWW
           12                             )
                                          ) ORDER FOR RELEASE
           13
                              Plaintiff,  )
           14                             )
                       vs.                 )
           15                               )
                Guillermo Arturo Lopez,   )
           16
                              Defendant.  )
           17

           18                                             ORDER
           19
                   IT IS HEREBY ORDERED that Guillermo Arturo Lopez be released pending his
           20
                sentencing on December 1, 2008 under the following terms and conditions as ordered by
           21
                his probation officer: participate in mental health treatment, participate in drug and
           22

           23   alcohol counseling, and report for drug testing. He is also to abide by all other terms and
           24   conditions of supervised release as ordered on May 17, 2004.
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           26
                Dated: October 8, 2008                                 /s/ OLIVER W. WANGER
           27                                                               Honorable Oliver W. Wanger
           28                                                               United States District Judge




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